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                           Vladislav Klyshin
                                Unit BN1
                                 #80140



          Discovery Evidence Schedule


  M            T         W           T          F           S           S

8:30am-    8:30am-    8:30am-     8:30am-    8:30am-    8:30am-    8:30am-
10:30am    10:30am    10:30am     10:30am    10:30am    10:30am    10:30am




           7:00pm-                                                 1:00pm-
           10:00pm                                                 4:00pm
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